23-10738-jpm          Doc 507        Filed 09/28/23 Entered 09/28/23 20:08:51                       Main Document
                                                 Pg 1 of 21
                                         Presentment Date: October 19, 2023 at 12:00 p.m. (Eastern Time)
                                        Objection Deadline: October 19, 2023 at 11:00 a.m. (Eastern Time)

    Robert J. Feinstein, Esq.
    Bradford J. Sandler, Esq.
    Paul J. Labov, Esq.
    Colin R. Robinson, Esq.
    PACHULSKI STANG ZIEHL & JONES LLP
    780 Third Avenue, 34th Floor
    New York, NY 10017
    Telephone: (212) 561-7700
    Facsimile: (212) 561-7777
    Email: rfeinstein@pszjlaw.com
              bsandler@pszjlaw.com
              plabov@pszjlaw.com
              crobinson@pszjlaw.com

Proposed Counsel to the Official Committee of Unsecured Creditors


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :                    Chapter 11
                                                               :
VICE GROUP HOLDING INC., et al.,1                              :                    Case No. 23-10738 (JPM)
                                                               :
                                                               :                    (Jointly Administered)
                  Debtors.                                     :
---------------------------------------------------------------x


         NOTICE OF PRESENTMENT OF THE OFFICIAL COMMITTEE OF
        UNSECURED CREDITORS’ MOTION TO (I) DENY REIMBURSEMENT
        OF CERTAIN FEES AND EXPENSES OF FORTRESS AND (II) COMPEL
    DISGORGEMENT OF AN IMPROPER POSTPETITION TRANSFER TO FORTRESS

         PLEASE TAKE NOTICE that upon the Motion of the Official Committee of Unsecured

Creditors to (I) Deny Reimbursement of Certain Fees and Expenses of Fortress and (II) Compel

Disgorgement of an Improper Postpetition Transfer to Fortress (the “Motion”), the Official


1
     The last four digits of Debtor Vice Group Holding Inc.’s tax identification number are 4250. Due to the large
     number of debtors in these chapter 11 cases, a complete list of the debtor entities and the last four digits of their
     respective federal tax identification numbers is not provided herein. Such list may be obtained on the website of
     the Debtors’ claims and noticing agent at https://cases.stretto.com/vice. The location of the Debtors’ service
     address for purposes of these chapter 11 cases is: 49 South 2nd Street, Brooklyn, NY 11249.


DOCS_DE:245000.8 90234/002
23-10738-jpm        Doc 507   Filed 09/28/23 Entered 09/28/23 20:08:51            Main Document
                                          Pg 2 of 21



Committee of Unsecured Creditors (the “Committee”) appointed in the above-captioned

bankruptcy cases of Vice Group Holding Inc., et al., debtors and debtors in possession (the

“Debtors”), will present to the Honorable John P. Mastando III, United States Bankruptcy Judge,

for signature, on October 19, 2023 at 12:00 p.m. (Eastern Time), the proposed Order

Authorizing and Approving the Employment of Pachulski Stang Ziehl & Jones LLP as Counsel to

the Official Committee of Unsecured Creditors Effective as of May 25, 2023 attached to the Motion

as Exhibit B.

        PLEASE TAKE FURTHER NOTICE that any responses or objections (“Objections”),

if any, to the Motion shall be in writing, shall conform to the Bankruptcy Rules and the Local

Rules, shall be filed with the Bankruptcy Court (a) by attorneys practicing in the Bankruptcy Court,

including attorneys admitted pro hac vice, electronically in accordance with General Order M-399

(which can be found at www.nysb.uscourts.gov), and (b) by all other parties in interest, on a CD-

ROM, in text-searchable portable document format (PDF) (with a hard copy delivered directly to

Chambers), in accordance with the customary practices of the Bankruptcy Court and General

Order M-399, to the extent applicable, and shall be served in accordance with General Order M-

399, so as to be so filed and received by: (i) the Honorable James P. Mastando III, United States

Bankruptcy Judge for the Southern District of New York, United States Bankruptcy Court for the

Southern District of New York One Bowling Green, Courtroom 501, New York, NY 10004-1408;

(ii) proposed counsel to the Committee, Pachulski, Stang, Ziehl & Jones LLP, 780 Third Avenue,

34th Floor, New York, New York 10017, Attn: Bradford J. Sandler (bsandler@pszjlaw.com) and

Robert J. Feinstein (rfeinstein@pszjlaw.com); (iii) proposed counsel for the Debtors, Togut, Segal

& Segal LLP, One Penn Plaza, Suite 3335, New York, NY 10119, Attn: Albert Togut, Esq.

(altogut@teamtogut.com) and Kyle J. Ortiz, Esq. (kortiz@teamtogut.com); (iv) proposed special




DOCS_DE:245000.8 90234/002                       2
23-10738-jpm        Doc 507     Filed 09/28/23 Entered 09/28/23 20:08:51             Main Document
                                            Pg 3 of 21



counsel for the Debtors, Shearman & Sterling LLP, 599 Lexington Avenue, New York, NY 10022,

Attn.: Fredric Sosnick. Esq. (FSosnick@Shearman.com) and Shearman & Sterling LLP, 2601

Olive     Street,    17th    Floor,   Dallas,    TX     75201,   Attn.:   Ian   E.   Roberts,    Esq.

(Ian.Roberts@Shearman.com); and (v) the Office of the United States Trustee for the Southern

District of New York (the “United States Trustee”), One Bowling Green, Room 534, New York,

NY 10004, Attn: Andrea B. Schwartz, Esq. (Andrea.B.Schwartz@usdoj.gov) and Annie Wells,

Esq. (Annie.Wells@usdoj.gov).

        PLEASE TAKE FURTHER NOTICE that if an Objection to the Motion is not filed and

served by the Objection Deadline, the Bankruptcy Court may enter an order granting the relief

sought without a hearing.

 Dated: September 28, 2023                      PACHULSKI STANG ZIEHL & JONES LLP

                                                /s/ Robert J. Feinstein
                                                 Robert J. Feinstein
                                                 Bradford J. Sandler
                                                 Paul J. Labov
                                                 Colin R. Robinson
                                                 PACHULSKI STANG ZIEHL & JONES LLP
                                                 780 Third Avenue, 34th Floor
                                                 New York, NY 10017
                                                 Telephone: (212) 561-7700
                                                 Facsimile: (212) 561-7777
                                                 Email: rfeinstein@pszjlaw.com
                                                         bsandler@pszjlaw.com
                                                         plabov@pszjlaw.com
                                                         crobinson@pszjlaw.com

                                                Proposed Counsel for the Official Committee of
                                                Unsecured Creditors




DOCS_DE:245000.8 90234/002                          3
23-10738-jpm          Doc 507        Filed 09/28/23 Entered 09/28/23 20:08:51                       Main Document
                                                 Pg 4 of 21



    Robert J. Feinstein, Esq.
    Bradford J. Sandler, Esq.
    Paul J. Labov, Esq.
    Colin R. Robinson, Esq.
    PACHULSKI STANG ZIEHL & JONES LLP
    780 Third Avenue, 34th Floor
    New York, NY 10017
    Telephone: (212) 561-7700
    Facsimile: (212) 561-7777
    Email: rfeinstein@pszjlaw.com
              bsandler@pszjlaw.com
              plabov@pszjlaw.com
              crobinson@pszjlaw.com

Proposed Counsel to the Official Committee of Unsecured Creditors


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :                    Chapter 11
                                                               :
VICE GROUP HOLDING INC., et al.,                  2            :                    Case No. 23-10738 (JPM)
                                                               :
                                                               :                    (Jointly Administered)
                  Debtors.                                     :
---------------------------------------------------------------x

             THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS’
            MOTION TO (I) DENY REIMBURSEMENT OF CERTAIN FEES
          AND EXPENSES OF FORTRESS AND (II) COMPEL DISGORGEMENT
            OF AN IMPROPER POSTPETITION TRANSFER TO FORTRESS

         The Official Committee of Unsecured Creditors (the “Committee”) appointed in the above-

captioned bankruptcy cases of Vice Group Holding Inc., et al., debtors and debtors in possession

(the “Debtors”), hereby files this motion the (“Motion”): (i) to deny the release of a fee reserve set




2
     The last four digits of Debtor Vice Group Holding Inc.’s tax identification number are 4250. Due to the large
     number of debtors in these chapter 11 cases, a complete list of the debtor entities and the last four digits of their
     respective federal tax identification numbers is not provided herein. Such list may be obtained on the website of
     the Debtors’ claims and noticing agent at https://cases.stretto.com/vice. The location of the Debtors’ service
     address for purposes of these chapter 11 cases is: 49 South 2nd Street, Brooklyn, NY 11249.


DOCS_DE:245000.8 90234/002
23-10738-jpm        Doc 507        Filed 09/28/23 Entered 09/28/23 20:08:51                     Main Document
                                               Pg 5 of 21



aside for the reimbursement of Fortress Credit Corp. on behalf of the ad hoc group of prepetition

secured lenders and debtor-in-possession lenders (collectively, “Fortress”) on account of fees and

expenses of its financial advisor Houlihan Lokey (“Houlihan”) pursuant to the Final Order (I)

Authorizing the Debtors to (A) Obtain Postpetition Financing and (B) Use Cash Collateral, (II)

Granting Liens and Superpriority Claims, (III) Modifying the Automatic Stay, (IV) Granting

Adequate Protection to Prepetition Secured Parties, and (V) Granting Related Relief [Dkt. No.

138] (the “Final DIP Order”);3and (ii) compel disgorgement of an unauthorized postpetition

transfer to Fortress of $150,000 on account of Houlihan Lokey fees.

        In support of this Motion, the Committee respectfully states as follows:

                                     PRELIMINARY STATEMENT

            1.   These cases are on the verge of conversion to chapter 7 because the Debtors were

    forced to consummate the sale of their assets to their senior secured creditor on the basis that

    they were left deeply administratively insolvent. The Committee makes this motion so that the

    claims and issues addressed herein are preserved for consideration and prosecution by a chapter

    7 trustee appointed after the inevitable conversion of these cases in the near future.

            2.   It has become apparent to the Committee that, in violation of the Final DIP Order,

    months ago, Fortress improperly sought and received reimbursement of $150,000 on account

    of its financial advisor’s fees without compliance with the requirements of the DIP order,

    including providing a copy of the invoice to the Committee along with a ten-day opportunity to

    object. Notwithstanding this requirement, the process was completely ignored and payment

    was made anyway, and thus it should be returned to the estate as it was not properly authorized.

    Additionally, another unfortunate development is that Fortress seeks the release to it of a


3
    Capitalized terms used, but not defined, herein shall have the meanings ascribed to them in the Final DIP Order.



DOCS_DE:245000.8 90234/002                               5
23-10738-jpm        Doc 507      Filed 09/28/23 Entered 09/28/23 20:08:51                   Main Document
                                             Pg 6 of 21



    $475,000 fee reserve (the “Houlihan Fee Reserve”). The Houlihan Fee Reserve was set aside

    by the Debtors ostensibly to reimburse Fortress for a portion of Houlihan’s fees that also were

    not submitted to the Committee to review until after the Committee recently complained that

    Fortress did not comply with the DIP Order and Sale Order.4

            3.   Put simply, Fortress is not entitled to the Houlihan Fee Reserve because, as set forth

    in the correspondence attached hereto, the reimbursement request is a “DIP Obligation” that

    was already satisfied at the sale closing since Fortress was required to, and did, credit bid all

    DIP Obligations first and its prepetition debt second. Thus, any professional fees that had not

    yet been reimbursed as of the sale closing were DIP Obligations (as Fortress agreed) that had

    to be and were in fact credit bid and therefore already satisfied and should not be paid a second

    time. Nevertheless, Fortress now seeks to double dip and take the cash in the Houlihan Fee

    Reserve.

            4.   Specifically, Fortress’s purchase price of $350 million exceeded the total

    outstanding “DIP Obligations,” so Fortress was required to credit bid the entirety of the

    outstanding DIP Obligations (including the amounts it owed to Houlihan) and a portion of their

    prepetition secured debt to pay the purchase price. The term “DIP Obligations” as defined in

    the Final DIP Order and the DIP Loan Agreement includes principal, interest and fees, including

    the Fortress’s professional fees. Houlihan’s invoices for which Fortress is now seeking

    reimbursement were part of the “DIP Obligations” that were credit bid. Once the credit bid was

    accepted and Fortress was deemed to be the winning bidder (and closed on the sale), its

    outstanding and unpaid fees and expenses were satisfied in full. Accordingly, no further



4
    Order (a) Approving the Asset and Equity Purchase Agreement, (B) Authorizing the Sale of Assets, (C)
    Authorizing the Assumption and Assignment of Contracts and Leases, and (D) Granting Related Relief [Dkt. No.
    214].


DOCS_DE:245000.8 90234/002                             6
23-10738-jpm          Doc 507     Filed 09/28/23 Entered 09/28/23 20:08:51           Main Document
                                              Pg 7 of 21



     reimbursement or payment of Fortress’s professional fees, including those for Houlihan, is

     appropriate.

            5.      In addition to denying Fortress access to the Houlihan Fee Reserve and any

     additional payment of the Houlihan Invoices, the Committee seeks to compel disgorgement of

     the unauthorized postpetition transfer of $150,000 on account of Houlihan’s invoice for July

     2023 services. Fortress does not deny (nor could it) that it received that payment without having

     complied with the Final DIP Order requirement that invoices be circulated to the Committee

     for review and approval and an opportunity to object. Accordingly, the $150,000 payment to

     Fortress was an unauthorized postpetition transfer and must be returned to the estate.

            6.      Based on the foregoing and for the reasons set forth below, the Committee urges

     the Court deny the release of the Houlihan Fee Reserve (and permit it to be released to the

     Debtors’ estates free and clear of any liens), and compel the repayment of the unauthorized

     postpetition transfer in the amount of $150,000.

                                            BACKGROUND

A.       General Background

            7.      On May 15, 2023 (the “Petition Date”), the Debtors each filed a voluntary petition

     with this Court under chapter 11 of the Bankruptcy Code, thereby commencing the above-

     captioned cases. The Debtors are operating their business and managing their properties as

     debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee

     or examiner has been appointed in these cases.

            8.      On May 23, 2023, the Office of the United States Trustee for Region 2 (the “U.S.

     Trustee”) appointed the Committee pursuant to section 1102 of the Bankruptcy Code. The




DOCS_DE:245000.8 90234/002                          7
23-10738-jpm        Doc 507    Filed 09/28/23 Entered 09/28/23 20:08:51             Main Document
                                           Pg 8 of 21



   Committee consists of: (a) Wipro LLC; (b) OMnet LLC; (c) Horizon Media LLC; (d) XWP Co.

   Pty Ltd.; and (e) Wolftech Broadcast Solutions AS.

            9.   The Final DIP Order was entered on June 13, 2023 [Dkt. No. 138]. The Sale Order

   was entered ten days later on June 23, 2023.

            10. As the record of the case will reflect, Fortress demanded that the Debtors waive a

   condition in the asset purchase agreement that the Debtors have adequate funds to conduct an

   orderly wind-down. The funds were not available and Fortress refused to budge, requiring the

   Debtors to waive that contract condition, leaving the estates administratively insolvent upon

   closing. Nonetheless, Fortress has continued to seek reimbursement of its professional fees and

   expenses, but completely disregarded the requirements of the Final DIP Order.

            11. By email dated August 23, 2023, counsel to Fortress emailed to counsel for the

   Committee, for the first time, copies of the Houlihan Invoices. On August 28, 2023, counsel

   for the Committee delivered via email its specific objections to the Disputed Invoiced Fees. A

   copy of the Committee’s objection letter is attached hereto as Exhibit A. This motion is a

   follow-up to that letter so that the matter may be adjudicated by the Court.

            12. Specifically, because the Committee and Fortress have not resolved their dispute

   over the Houlihan Invoices, relief requested herein in accordance with the Final DIP Order. See

   Final DIP Order, ¶20(b) (“The Debtors, the Committee, or the U.S. Trustee may dispute the

   payment of any portion of the Invoiced Fees (the “Disputed Invoiced Fees”) if, within the

   Review Period, a Debtor, the Committee, or the U.S. Trustee notifies the submitting party in

   writing setting forth the specific objections to the Disputed Invoiced Fees (to be followed by

   the filing with the Court, if necessary, of a motion or other pleading, with at least ten (10) days

   prior written notice to the submitting party of any hearing on such motion or other pleading).




DOCS_DE:245000.8 90234/002                        8
23-10738-jpm          Doc 507      Filed 09/28/23 Entered 09/28/23 20:08:51               Main Document
                                               Pg 9 of 21



               13. This relief requested herein is also critical in light of the procedural posture of these

     cases. The sale left the estates administratively insolvent and with conversion to chapter 7

     imminent, the Committee asserts these significant fees disputes now so that they are preserved

     for the Chapter 7 trustee to address. Additionally, Fortress is not entitled to the Houlihan Fee

     Reserve, the funds of which should be made available to the Debtors’ estates (including the

     future Chapter 7 trustee).

                                                ARGUMENT

A.           Fortress Failed to Properly Submit the Houlihan Invoices to the Committee

               14. The plain language of the Final DIP Order provides that Fortress was required to

     circulate the Houlihan Invoices to the Committee. The Final DIP Order provides, in pertinent

     part:

                     The Debtors shall pay the reasonable and documented professional fees,
                     expenses, and disbursements of professionals to the extent provided for in
                     Paragraphs 3(e)(3) and 9(c) of this Final Order (collectively, the “Lender
                     Professionals” and, each, a “Lender Professional”) no later than ten (10)
                     business days (the “Review Period”) after the receipt by counsel for the
                     Debtors, the Committee and the U.S. Trustee of each of the invoices
                     therefor (the “Invoiced Fees”) and without the necessity of filing formal
                     fee applications or complying with the U.S. Trustee Guidelines, including
                     such amounts arising before the Petition Date . . .

                     The Debtors, the Committee, or the U.S. Trustee may dispute the payment
                     of any portion of the Invoiced Fees (the “Disputed Invoiced Fees”) if,
                     within the Review Period, a Debtor, the Committee, or the U.S. Trustee
                     notifies the submitting party in writing setting forth the specific objections
                     to the Disputed Invoiced Fees (to be followed by the filing with the Court,
                     if necessary, of a motion or other pleading, with at least ten (10) days prior
                     written notice to the submitting party of any hearing on such motion or
                     other pleading).

Final DIP Order, ¶20(b).

               15. Fortress cannot dispute that until August 23, 2023, over two months after entry of

     the Final DIP Order and Sale Order, it never provided the Houlihan Invoices to the Committee



DOCS_DE:245000.8 90234/002                             9
23-10738-jpm         Doc 507      Filed 09/28/23 Entered 09/28/23 20:08:51              Main Document
                                              Pg 10 of 21



   for approval. By this point in time, Fortress had already received $150,000 improperly. Nor did

   it provide a copy of Houlihan’s engagement letter or indicate in the post-sale period it would

   seek reimbursement of Houlihan’s fees and expenses. Failure to adhere to the DIP Order for

   over two months alone should suffice to deny Fortress’s request.

            16. Putting aside Fortress’s failure to provide notice to the Committee of the Houlihan

   Invoices until August 23, 2023 and receiving an unauthorized postpetition transfer, the release

   of the Houlihan Reserve Fee and any further payment of the Houlihan Invoices, in whole, or in

   part, must be denied because the expenses were unsatisfied as of the time of the closing of the

   credit bid sale of the Debtors’ assets to Fortress. And those DIP Obligations were satisfied by

   the credit bid.

            17. The Sale Order required Fortress to first, credit bid all of its DIP Obligations,

   including, without limitation, any unreimbursed professional fees that were part of the DIP

   Obligations, and then, second, its prepetition secured debt.

            18. The Sale Order in paragraph P states in pertinent part:

                     Pursuant to the terms of the APA and the DIP Order, the Prepetition First
                     Lien Lenders and DIP Lenders are secured creditors of the Debtors,
                     holding allowed Claims in the amount of the Prepetition First Lien
                     Obligations and DIP Obligations (each as defined in the DIP Order)
                     secured by valid, binding, perfected, and enforceable first-priority
                     security interests in and liens against each of the Debtors, their estates and
                     the property of their estates …. of which the full amount of the DIP
                     Obligations will be credit bid in connection with the Sale and APA, with
                     the remaining amount of the Purchase Price satisfied through a credit bid
                     of such amount of the Prepetition First Lien Obligations ….”

Sale Order, ¶P.

            19. Because Fortress’s purchase price of $350 million exceeded the total outstanding

   “DIP Obligations,” Fortress was required to credit bid the entirety of its then outstanding DIP




DOCS_DE:245000.8 90234/002                           10
23-10738-jpm        Doc 507      Filed 09/28/23 Entered 09/28/23 20:08:51              Main Document
                                             Pg 11 of 21



   Obligations and a portion of their prepetition secured debt to pay the purchase price. The term

   “DIP Obligations” is defined as follows:

            20. The DIP Facility has been negotiated in good faith and at arm’s length among the

   Debtors and the DIP Secured Parties, and all of the Debtors’ obligations and indebtedness

   arising under, in respect of, or in connection with the DIP Facility and the DIP Loan Documents,

   including, without limitation, all loans made to and guarantees issued by the Debtors pursuant

   to the DIP Loan Documents and all other obligations under the DIP Loan Documents

   (collectively, the “DIP Obligations”). DIP Order, ¶E(iii).

            21. Additionally, the term “Obligations” also is defined in the DIP Credit Agreement

   as:

                    “Obligations” means all obligations (whether now existing or hereafter
                    arising, absolute or contingent, joint, several, or independent, including as
                    a guarantor) of every nature of each Credit Party from time to time owed
                    to the Agents (including former Agents) or the Lenders, under any Credit
                    Document, in each case whether for principal, interest (including interest
                    which, but for the filing of a petition in bankruptcy with respect to such
                    Credit Party, would have accrued on any Obligation, whether or not a
                    claim is allowed against such Credit Party for such interest in the related
                    bankruptcy proceeding), fees (including the Exit Fee and fees accruing
                    during the pendency of any bankruptcy, insolvency, receivership or
                    other similar proceeding, regardless of whether allowed or allowable
                    in such proceeding), expenses, Attorney Costs, indemnification or
                    otherwise ….”

(emphasis supplied).

            22. The plain language of the Final DIP Order (and DIP Credit Agreement)

   unequivocally support the conclusion the Houlihan Invoices were a part of the “DIP

   Obligations” that were included in Fortress’s credit bid. The acceptance and approval of the

   credit bid by the Sale Order, and closing the transaction contemplated therein, satisfied any

   purported obligation to reimburse Fortress for the fees and expenses of its professionals as they

   were part of its credit bid. Releasing the Houlihan Fee Reserve would grant Fortress a windfall


DOCS_DE:245000.8 90234/002                          11
23-10738-jpm         Doc 507        Filed 09/28/23 Entered 09/28/23 20:08:51                     Main Document
                                                Pg 12 of 21



     by allowing it to credit bid Houlihan’s fees and then separately and subsequently charge the

     estates cash for the same amout it previously credit bid. That is a classic “double dip” and should

     not be allowed.

B.       Fortress Must Disgorge the Unauthorized Postpetiton Transfer

            23. The payment to Fortress of the $150,000 for July services provided by Houlihan

     must be disgorged because it was paid in violation of the express terms of the Final DIP Order.5

            24. Before seeking reimbursement of any amounts for its professionals, Fortress was

     required to comply with paragraph 20(b) of the Final DIP Order and provide the proposed fees

     and expenses for review to the Committee (and Debtors and U.S. Trustee). Fortress failed to

     do so. The payment to Fortress on account of Houlihan’s July fees was made in contravention

     of the process set forth in the Final DIP Order.

            25. It is indisputable that this Court can order disgorgement of the unauthorized

     payment to Fortress. See In re Soussis, 624 B.R. 559, 563 (Bankr. E.D.N.Y. 2020), aff'd sub

     nom. Soussis v. Macco, 20-CV-05673 (JMA), 2022 U.S. Dist. LEXIS 12386, 2022 WL 203751

     (E.D.N.Y. Jan. 24, 2022) (“Disgorgement is an equitable remedy which requires [a] [c]ourt to

     exercise its powers under § 105(a) of the Bankruptcy Code.”). Disgorgement is appropriate

     here where Fortress has run afoul of the Court’s DIP Order that established a clear process for

     the reimbursement of fees and expenses.

            26. Moreover, section 362(a)(3) prohibits the exercise of control over property of the

     estate. Here, the Debtors reimbursed Fortress for Houlihan’s July fees and expenses without




5
     The Committee does not dispute that under the DIP Order, the portion of the June 12, 2023 invoice relating to
     prepetition services (the balance due from May) need not be circulated to the Debtors, Committee and U.S.
     Trustee, but all other invoices were required to be circulated to those parties as a pre-condition to being paid.


DOCS_DE:245000.8 90234/002                               12
23-10738-jpm        Doc 507    Filed 09/28/23 Entered 09/28/23 20:08:51             Main Document
                                           Pg 13 of 21



   following the process set out in the DIP Order. Disgorgement of the improper transfer to

   remedy the violation of section 362(a)(3) is warranted.

                                 RESERVATION OF RIGHTS

            27. The Committee, on behalf of itself and the Debtors’ bankruptcy estates, including

   a future Chapter 7 trustee, expressly reserves all rights, claims, defenses, and remedies,

   including, without limitation, to supplement and amend this Motion, to raise further and other

   objections, and to introduce evidence prior to or at any hearing on this matter.

                                          CONCLUSION

        WHEREFORE, for the foregoing reasons, the Committee respectfully requests that the

Court enter an order, substantially in the form attached hereto as Exhibit B: (i) deny the release of

the Houlihan Fee Reserve to Fortress, but instead releasing those funds to the estate free and clear

of any lien, and (ii) compel Fortress to repay $150,000; and (iii) grant such other and further relief

as may be just and proper under the circumstances.

 Dated: September 28, 2023                   PACHULSKI STANG ZIEHL & JONES LLP

                                             /s/ Robert J. Feinstein
                                              Robert J. Feinstein
                                              Bradford J. Sandler
                                              Paul J. Labov
                                              Colin R. Robinson
                                              PACHULSKI STANG ZIEHL & JONES LLP
                                              780 Third Avenue, 34th Floor
                                              New York, NY 10017
                                              Telephone: (212) 561-7700
                                              Facsimile: (212) 561-7777
                                              Email: rfeinstein@pszjlaw.com
                                                      bsandler@pszjlaw.com
                                                      plabov@pszjlaw.com
                                                      crobinson@pszjlaw.com

                                             Proposed Counsel for the Official Committee of
                                             Unsecured Creditors




DOCS_DE:245000.8 90234/002                       13
23-10738-jpm   Doc 507   Filed 09/28/23 Entered 09/28/23 20:08:51   Main Document
                                     Pg 14 of 21



                                 EXHIBIT A
23-10738-jpm   Doc 507   Filed 09/28/23 Entered 09/28/23 20:08:51   Main Document
                                     Pg 15 of 21
23-10738-jpm   Doc 507   Filed 09/28/23 Entered 09/28/23 20:08:51   Main Document
                                     Pg 16 of 21
23-10738-jpm   Doc 507   Filed 09/28/23 Entered 09/28/23 20:08:51   Main Document
                                     Pg 17 of 21
23-10738-jpm   Doc 507   Filed 09/28/23 Entered 09/28/23 20:08:51   Main Document
                                     Pg 18 of 21
23-10738-jpm   Doc 507   Filed 09/28/23 Entered 09/28/23 20:08:51   Main Document
                                     Pg 19 of 21



                                 EXHIBIT B
23-10738-jpm          Doc 507        Filed 09/28/23 Entered 09/28/23 20:08:51                       Main Document
                                                 Pg 20 of 21



    Robert J. Feinstein, Esq.
    Bradford J. Sandler, Esq.
    Paul J. Labov, Esq.
    Colin R. Robinson, Esq.
    PACHULSKI STANG ZIEHL & JONES LLP
    780 Third Avenue, 34th Floor
    New York, NY 10017
    Telephone: (212) 561-7700
    Facsimile: (212) 561-7777
    Email: rfeinstein@pszjlaw.com
              bsandler@pszjlaw.com
              plabov@pszjlaw.com
              crobinson@pszjlaw.com

Proposed Counsel to the Official Committee of Unsecured Creditors


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :                    Chapter 11
                                                               :
VICE GROUP HOLDING INC., et al.,                  1            :                    Case No. 23-10738 (JPM)
                                                               :
                                                               :                    (Jointly Administered)
                  Debtors.                                     :
---------------------------------------------------------------x


            ORDER DENYING REIMBURSEMENT OF CERTAIN FEES AND
          EXPENSES OF FORTRESS AND (II) COMPELLING DISGORGEMENT
            OF AN IMPROPER POSTPETITION TRANSFER TO FORTRESS

         Upon consideration of the Motion of the Official Committee of Unsecured Creditors to (I)

Deny Reimbursement of Certain Fees and Expenses of Fortress and (II) Compel Disgorgement of

an Improper Postpetition Transfer to Fortress (the “Motion”),2 for an order (i) denying the release


1
     The last four digits of Debtor Vice Group Holding Inc.’s tax identification number are 4250. Due to the large
     number of debtors in these chapter 11 cases, a complete list of the debtor entities and the last four digits of their
     respective federal tax identification numbers is not provided herein. Such list may be obtained on the website of
     the Debtors’ claims and noticing agent at https://cases.stretto.com/vice. The location of the Debtors’ service
     address for purposes of these chapter 11 cases is: 49 South 2nd Street, Brooklyn, NY 11249.
2
     Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.


DOCS_DE:245000.8 90234/002
23-10738-jpm        Doc 507    Filed 09/28/23 Entered 09/28/23 20:08:51           Main Document
                                           Pg 21 of 21



of the Houlihan Fee Reserve to Fortress, and instead releasing those funds to the estate free and

clear of any lien, and (ii) compelling Fortress to repay $150,000; and the Court having jurisdiction

to consider the Motion and the relief requested therein; and consideration of the Motion and the

relief requested therein being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being

proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and it also appearing that the

relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors and

other parties in interest; and the Committee having provided adequate and appropriate notice of

the Motion under the circumstances; and after due deliberation and good and sufficient cause

appearing therefor;

        IT IS HEREBY ORDERED THAT:

        1.       The Motion is GRANTED.

        2.       The release of the Houlihan Fee Reserve is denied.

        3.       The Lender Group shall disgorge $150,000 to the Debtors’ estates.

        4.       The Lender Group is not entitled to the reimbursement of its fees and expenses.

        5.       The Court shall retain jurisdiction to hear and determine all matters arising from

the implementation of this Order.

Dated: ________________, 2023
       New York, New York
                                                  HONORABLE JOHN P. MASTANDO III
                                                  UNITED STATES BANKRUPTCY JUDGE




DOCS_DE:245000.8 90234/002                       15
